               Case 1:21-cr-00488-CRC Document 59 Filed 02/16/23 Page 1 of 2




                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             Case No.: 1:21-cr-00488 CRC


                         v.
                                                      DEFENDANT’S OBJECTIONS TO
                                                      GOVERNMENT’S EXHIBITS
NOAH S. BACON,

                                Defendant.


                       COMES NOW, Noah Bacon, through counsel, Joseph R. Conte, to

make the following objections to the proposed government exhibit list.

           1. Exhibit 19 -- “Area Closed Sign” -- This exhibit could come from anywhere.

           There is no evidence Mr. Bacon saw the sign or was otherwise aware of its

           existence.

           2. Exhibit 25 -- “Area Closed Sign” -- Although the location of this sign is

           obvious there is no evidence Mr. Bacon saw the sign.

           3. Exhibit 400 -- SMS message. These messages are dated November 27,

                 2022, and are not relevant to the charges in the indictment.

           4. Exhibit 406 -- SMS message. These messages are from December 12,

                 2020, and are not relevant to the charges in the indictment.




 United States v. Bacon                                            Joseph R. Conte
 Case #1:21-cr-00488 CRC                                           8251 NW 15th Ct.
 Defendant’s Objections to Government’s Exhibits                   Coral Springs, FL 33071
 Page No. 1                                                        Phone: 202.638.4100
                                                                   Email: dcgunlaw@gmail.com
 EXHIBIT OBJECTIONS 23/02/16 06:11:48
              Case 1:21-cr-00488-CRC Document 59 Filed 02/16/23 Page 2 of 2




                                                  Respectfully submitted,

                                                  Joseph R. Digitally     signed by
                                                                 Joseph R. Conte

                                                  Conte          Date: 2023.02.16
                                                   ___________________________
                                                                 06:12:21 -05'00'

                                                  Joseph R. Conte, Bar #366827
                                                  Counsel for Noah S. Bacon
                                                  Law Office of J.R. Conte
                                                  8251 NW 15th Ct.
                                                  Coral Springs, FL 33071
                                                  Phone:       202.236.1147
                                                  E-mail:      dcgunlaw@gmail.com




United States v. Bacon                                         Joseph R. Conte
Case #1:21-cr-00488 CRC                                        8251 NW 15th Ct.
Defendant’s Objections to Government’s Exhibits                Coral Springs, FL 33071
Page No. 2                                                     Phone: 202.638.4100
                                                               Email: dcgunlaw@gmail.com
EXHIBIT OBJECTIONS 23/02/16 06:11:48
